Case: 2:21-mj-00160-EPD Doc #: 2 Filed: 03/08/21 Page: 1 of 5 PAGEID #: 21

EC/HH

  

AO93 (Rev. 11/13) Search and Seizure Warrant

   

UNITED STATES DISTRICT COURT

for the
Southem District of Ohio
In the Matter of the Search of
(Briefly describe the property to he searched
or identify the person by name and address)

The contents of the Dropbox account associated with email
address magicmikeS60@aol.com and Usar ID number
157725924, that le stored at premises controlled by Dropbox,

cweno. 2): A). ma le

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An spplication by a federal law enforcement officer or an attomey for the government requests the search
of the following person or property located in the Northam District of Califomia
(identify the person or describe the property to be searched and give its location):

SEE ATTACHMENT A INCORPORATED HEREIN BY REFERENCE

Neat Neat Nee Me Se! Sones

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify she person or describe the property to be seized):

SEE ATTACHMENT B INCORPORATED HEREIN BY REFERENCE

2f ZOU ARE COMMANDED to execute thie want on or before HOV AF cotta exceed 14 dey)
in the daytime 6:00 a.m. to 10:00p.m. CV at any time in the day of ni because good cause has been established.

Unleas delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken 10 the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant andinventoryto Elizabeth APreston Deavers _

     
 
 

 

a Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have ah Gackt

§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay noli

property, will be searched or seized (check the appropriate bax)
O for days (noe t excead 30) CF until, the facts justifying, the later specifi¢ dab

Date and time issued: Maiathoor a |V-41 -

Sa
City and state: Columbus, Ohio — Elizabeth A. Preston Deavers
eee Printed name umd title
Case: 2:21-mj-00160-EPD Doc #: 2 Filed: 03/08/21 Page: 2 of 5 PAGEID #: 22

ATTACHMENT A
DESCRIPTION OF PLACE TO BE SEARCHED

This warrant applies to information associated with the Dropbox account that is associated with

email address: magicmike960@aol.com and User ID number 157725924, which is stored at
premises owned, maintained, controlled, or operated by Dropbox Inc., located at 1800 Owens St.,

Suite 200, San Francisco, CA 94107.

17
Case: 2:21-mj-00160-EPD Doc #: 2 Filed: 03/08/21 Page: 3 of 5 PAGEID #: 23

ATTACHMENT B
LIST OF ITEMS TO BE SEIZED

L Information to be disclosed by Dropbox, Inc.

. To the extent that the information described in Attachment A is within the possession,
custody, or control of Dropbox, Inc., including any messages, records, files, logs, images,
videos, or information that have been deleted but are still available to Dropbox, or have been
preserved pursuant to.a request made under 18 U.S.C. § 2703(6), Dropbox is required to
disclose the following information to the government for each account or identifier listed in
Attachment A:

A. All records or other information regarding the identification of the user of the
Subject Account, to include full name, physical address, telephone numbers and other
identifiers, email addresses, records of session times and durations, the date on-which
the account was created, the length of service, the IP address used to register the
account, log-in IP addresses associated with session times and dates, account status,
e-mail addresses provided during registration, methods of connecting, log files, and
means and source of payment (including any credit or bank account number);

B. All information automatically recorded by Dropbox Inc. from a user’s device,
including its software and all activity using the Services, to include, but not limited
to: a utilizing device’s IP address, browser type, web page visited immediately prior
to connecting to the Dropbox website, all information searched for on the Dropbox
website, locale preferences, identification numbers associated with connecting
devices, information regarding a user’s mobile catrier, and configuration information;

C. The types of service utilized by the user;

D. All records or other information stored by an individual using the account, including
all files uploaded, downloaded or accessed using the Dropbox service, including all
available metadata concerning these files and the dates and times they were uploaded
to the account;

E, All records pertaining to communications between Dropbox Inc. and any person
regarding the account, including contacts with support services and records of actions
taken.

18
Case: 2:21-mj-00160-EPD Doc #: 2 Filed: 03/08/21 Page: 4 of 5 PAGEID #: 24

Notwithstanding 18 U.S.C. § 2252/2252A or any similar statute or code, Dropbox,
Ine. shall disclose responsive data by sending it to Special Agent Matthew Guinn, Federal

Bureau of Investigation, 425 W. Nationwide Blvd, Columbus, Ohio, 43215, or via email at

mwguinn@fbi.gov.
, Information to be seized by the government

1. Ail information described above in Section I that constitutes fruits, evidence and
instrumentalities of violations 18 U.S.C. §§ 2251, 2252 and 2252A, involvirig the use of a
computer in or affecting interstate commerce to transport, receive, distribute, possess and/or
access visual depictions of minors engaged in sexually explicit activity and/or child
pornography including, but not limited to, for each account or identifier listed on Attachment
A, information pertaining to the following matters:

A. Any individuals’ access to and interaction with minors.

B. All images depicting child erotica, child pornography, the sexual exploitation of
minors, sexually explicit conduct, and illicit sexual conduct.

C. All images, messages and communications between individuals relating to the
above, including any and all preparatory steps taken in furtherance of these crimes.

D. Records relating to who created, used, or communicated with the account or
identifier, including records about their identities and whereabouts.

i9
Case: 2:21-mj-00160-EPD Doc #: 2 Filed: 03/08/21 Page: 5 of 5 PAGEID #: 25

AO 53 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and tims warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

declare under penalty of perjury that this inventory is correct and was retamed along with the original warrant ta the

 

Date: we
Executing officer's slgnature

 

Printed name and title

 

 

 
